JS 44 (Rev. 4-29-21

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SHE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

UNITED STATES OF AMERICA

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name,
AUSAs Michael

Address, and Telephone Number,

Blume; Joseph Marutolto, Paulina Stamatelos

U.S. Attorney's Office, Eastern District of New York

271-A Cadman Plaza East, Brooklyn, NY, (718) 254-7000

NOTE:

Attorneys (if Known)

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

RARE BREED TRIGGERS, LLC; RARE BREED FIREARMS,
LLC; LAWRENCE DEMONICO; KEVIN MAXWELL

Cass County

II. BASIS OF JURISDICTION (lace an “X” in One Box Only)

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

[x]1 U.S. Government [_]3 Federal Question PIF DEF PIF -DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Cl 1 O 1 Incorporated or Principal Place oO 4 C] 4
of Business In This State
Cl 2 US. Government Cl 4 Diversity Citizen of Another State CO 2 C 2 Incorporated and Principal Place CL] s C 5
Defendant (Indicate Citizenship of Parties in Item ILD of Business In Another State
Does this action include a motion for temporary restraining order or order Citizen or Subject ofa C13 [7] 3 Foreign Nation Cle fe
to show cause? YesL7] NoL) Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only
[= contract TORTS FORFEITURE/PENALTY | BANKRUPTCY OTHERSTATUTES |
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729{a))
140 Negotiable Instrument Liability O 367 Health Care/ |_| 400 State Reapportionment
[| 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act | 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C] 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
O 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR ] 880 Defend Trade Secrets | | 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[| 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[| 190 Other Contract Product Liability C] 380 Other Personal | 720 Labor/Management SOCIAL SECURITY | Protection Act
L_| 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV
|_| 196 Franchise Injury Cl 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange :
Medical Malpractice Leave Act 864 SSID Title XVI x] 890 Other Statutory Actions
REAL PROPERTY CIVIL RIGHTS [ PRISONER PETITIONS | | 790 Other Labor Litigation [| 865 RSI (405(g)) | | 891 Agricultural Acts
|_| 210 Land Condemnation | 440 Other Civil Rights Habeas Corpus: | 791 Employee Retirement . 893 Environmental Matters
[| 220 Foreclosure | 441 Voting T | 463 Alien Detainee Income Security Act FEDERAL TAX SUITS 895 Freedom of Information
| 230 Rent Lease & Ejectment | 442 Employment | 510 Motions to Vacate (| 870 Taxes (U.S. Plaintiff Act
|__| 240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
|_| 245 Tort Product Liability Accommodations — [_] 530 General _] 871 IRS—Third Party -| 899 Administrative Procedure
| 290 All Other Real Property || 445 Amer. w/Disabilities - [| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
| 446 Amer. w/Disabilities -[_ | 540 Mandamus & Other 465 Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|_| 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Ptace an “x”

1 Original
Proceeding

Cl? Removed from
State Court

in One Box Only)
Cc 3 Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
O UW Another District

Reopened
(specify)

6 Multidistrict
Litigation -
Transfer

8 Multidistrict
O Litigation -
Direct File

VI. CAUSE OF ACTION

18 U.S.C. § 1345

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

Brief description of cause:
Request for relief to stop violations of 18 U.S.C. §§

371, 1341, 1343, 1349

VII. REQUESTEDIN ~ [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: L]yes [X]No
VUI. RELATED CASE(S)

‘See instructions):

If ANY ( eon! oNGE DOCKET NUMBER

DATE ] SIGNAT URE OF ATTORNEY OF RECORD .
[i (4/23 Ht
/ i A er
FOR OFFICE USE ONLY ‘
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

CERTIFICATION OF ARBITRATION ELIGIBILITY

Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration [|

I, Michael Biume counsel for United States of America do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

C] monetary damages sought are in excess of $150,000, exclusive of interest and costs,

the complaint seeks injunctive relief,

[| the matter is otherwise ineligible for the following reason

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section Vill on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (qd), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

NY-E DIVISION OF BUSINESS RULE 1(c)

1.) Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
County? Cl Yes YW] No

2.) if you answered “no” above:
a) Did the events or omissions giving rise to the claim or claims, or a substantia! part thereof, occur in Nassau or Suffolk
County? Cl Yes YW No
b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
District? VW] Yes No

C) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
received:

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in.an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
Suffolk County? fA es Tl No

(Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

BAR ADMISSION

[ am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
WV] Yes oO No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

C] Yes (If yes, please explain No

| certify the accuracy of all information provided above.

Signature: _/ (fh.

Last Modified: 11/27/2017
